                  UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF TENNESSEE NASHVILLE
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                                                              Case No. 3:24-cv-00440
IAN HUNTER LUCAS,                                :
                              Plaintiff,         :
                                                              District Judge

                                                              Hon. Waverly D. Crenshaw, Jr.
                       v.                        :
THE VANDERBILT UNIVERSITY,                       :            Magistrate Judge
                                                              Hon. Jeffrey S. Frensley
                              Defendant.         :
 ––––––––––––––––––––––––––––X
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    DECLARATION OF IAN H. LUCAS: IN SUPPORT OF PLAINTIFF MOTION FOR
     TEMPORARY RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION.

       BOND:
              The plaintiff declares the requests that no bond or security be required for
       the issuance of the injunctive relief.
               If the Court determines that a bond is required, the plaintiff proposes that
       the bond amount be set at $10,000. The bond shall be forfeited if the plaintiff fails to
       prosecute the action in good faith, or if it is ultimately determined that the plaintiff
       was not entitled to the injunctive relief. Otherwise, the bond shall be returned to the
       plaintiff upon final resolution of the case.


       PERSONAL BACKGROUND
       I, Ian H. Lucas, declare under penalty of perjury under the laws of the United

States of America that the following is true and correct to the best of my knowledge,

information, and belief: I am the Declarant in the above-captioned matter. I am over the

age of eighteen years and am competent to testify to the matters stated herein. My current

residence is in Nashville, Tennessee. I have a personal interest in the outcome of this case

as it directly affects my rights and interests. My involvement with The Vanderbilt

University, hereinafter referred to as "Respondent", began in 2021, when I enrolled as a




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graduate student in the Master of Science in Nursing program. Since then, I have had

various interactions with the Respondent that are relevant to the claims made in this

motion. This declaration is made in support of my motion for a Temporary Restraining

Order and/or Preliminary Injunction against the Respondent to prevent further harm and

to protect my interests in this matter.

       The Court may consider waiving the bond requirement under circumstances where

it finds that the plaintiff has demonstrated a clear likelihood of success on the merits, and

where the imposition of a bond would constitute an undue hardship on the plaintiff,

potentially obstructing access to judicial relief. Such consideration would be consistent with

the principles of equity and justice, particularly in cases where the plaintiff's financial

resources are limited, and the relief sought is aimed primarily at preventing irreparable

harm rather than compensating for damages.

       The terms of payment for the bond, should the Court decide to impose one, are as

follows: the bond shall be paid by the plaintiff, Ian H. Lucas, directly to the Clerk of the

Court within five (5) business days of the Court's order. The payment shall be made in the

form of a cashier's check or surety bond, subject to the Court's approval. The bond shall

remain in effect for the duration of the injunction, serving as a security for any costs or

damages that may be incurred by the defendant, The Vanderbilt University, should it be

found that the injunction was wrongfully granted.

       The bond or security is intended to balance the equities between the parties by

providing a measure of protection to the defendant against the potential costs and damages

that could result from an improperly issued injunction. However, it is important to note

that the requirement of a bond should not serve as an impediment to the relief sought by

the plaintiff, particularly in cases of pressing urgency where immediate action is necessary

to prevent irreparable harm. Therefore, any bond imposed should be reasonable and not



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exceed the plaintiff's ability to pay, to ensure that justice is accessible to all parties

irrespective of their financial means.

       In lieu of a traditional cash bond, alternative forms of security that the Court may

consider acceptable include a letter of credit from a reputable financial institution, a

personal or corporate surety bond, or other tangible assets that can be easily liquidated.

The acceptability of such alternative forms of security would be contingent upon their

ability to provide equivalent assurance of compensation to the defendant, should it be

entitled to such compensation upon the resolution of the case. The Court's approval of any

alternative form of security would be based on an assessment of its value, liquidity, and the

ease with which it can be converted into cash, if necessary.

       EDUCATIONAL AND PROFESSIONAL BACKGROUND

       I, Ian H. Lucas, hereby declare that my educational background includes the

following:

   1. Bachelor of Science in Respiratory Therapy from the East Tennessee State

       University, Graduated in August 2020.

   2. Associates of Applied Science in Health Science-Paramedic from Volunteer State

       Community College, Graduate August 2018

   3. Associates of Applied Science in Respiratory Therapy from Volunteer State

       Community College, Graduate in August 2015

   4. Associates of Science in Liberal Arts, Political Science Concentration in Legal

       Studies, and Minor in Military Studies, Graduated in May 2014

       I additionally hold professional licensure as a Licensed Paramedic and Licensed

Registered Respiratory Therapist in the States of Tennessee, North Carolina, and

Kentucky. Additionally, I am Nationally Board Registered Respiratory Therapist and

additionally a Board Certified Neonatal Pediatric Specialist, and subsequently sit on the



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board for the national certification center and the review test questions in my area of

specialty for the certification of neonatal pediatric transport, which I have been designated

as a subject matter expert in, and have spent the majority of my professional career in the

care of critically injured and sick neonates and pediatric patients requiring transport via a

specialized pediatric specialty team.

       CIRCUMSTANCES OF EXPULSION

       This declaration is made in support of my motion for a temporary restraining order

and/or preliminary injunction against The Vanderbilt University ("Respondent"). I, Ian H.

Lucas ("Declarant"), hereby declare under penalty of perjury pursuant to the laws of the

United States of America, and specifically the laws of the U.S. District Court for the Middle

District of Tennessee, that the following statements are true and correct to the best of my

knowledge, information, and belief. On March 27, 2024, I was informed by the Respondent

that I was being expelled from the institution.

       The expulsion was premised on allegations of academic misconduct, allegations I

categorically and vehemently deny. Despite my efforts to engage with the Respondent's

disciplinary process, including presenting evidence in my defense and requesting a fair

hearing, I believe the process was flawed and prejudiced against me, leading to my

wrongful expulsion. As a direct consequence of the expulsion, I have suffered significant

harm, including but not limited to the following:

   1. Loss of educational opportunity: My dreams of obtaining a Master's degree in

       Nursing from a prestigious institution have been shattered. This expulsion has

       abruptly halted my academic journey, leaving my future prospects in limbo.

   2. Financial burdens: I have already invested substantial amounts of money into my

       education, including tuition fees, textbooks, and other related expenses. The

       expulsion has rendered these investments futile, and I am now facing the daunting



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       prospect of repaying student loans without the anticipated income boost from my

       intended career path.

   3. Emotional distress: The emotional toll of this expulsion has been overwhelming. I

       have experienced sleepless nights, anxiety, and a deep sense of injustice and

       betrayal. The stress has affected my mental health, leading to feelings of depression

       and hopelessness.

   4. Reputational damage: My reputation has been irreparably tarnished. The expulsion

       has cast a shadow of doubt over my integrity and character, affecting my

       relationships with peers, professors, and potential employers. I am constantly

       haunted by the stigma of the allegations.

   5. Loss of professional opportunities: The expulsion has significantly diminished my

       career prospects. Potential employers are likely to view my expulsion as a red flag,

       making it difficult for me to secure employment in my chosen field. The professional

       network I was building at Vanderbilt University has been severed.

   6. Personal impact: The expulsion has strained my personal relationships. Friends and

       family members who were once supportive are now questioning my actions and

       integrity. The emotional burden has caused rifts and misunderstandings, further

       isolating me during this challenging time.

       It is on these grounds that I seek a temporary restraining order and/or preliminary

injunction, to halt the enforcement of the expulsion by the Respondent pending a thorough

and impartial review of the case. I assert that immediate and irreparable injury, loss, or

damage will result to me in the absence of the relief requested, including the potential loss

of an entire academic years’ worth of tuition and fees paid ($50,000), potential difficulties in

transferring credits to another institution, and disruption to my academic progress which

may delay my graduation by a year or more. While the only potential hardship on the



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Respondent if the relief is granted would be administrative in delaying the expulsion

proceedings until the review takes place if the relief is granted.

       It is on these grounds that I seek a temporary restraining order and/or preliminary

injunction, to halt the enforcement of the expulsion by the Respondent pending a thorough

and impartial review of the case. The hardships I will face from this expulsion are

permanent and irreversible, as it will negatively impact my academic record and prospects.

I assert that immediate and irreparable injury, loss, or damage will result to me in the

absence of the relief requested.

       Prior to seeking this injunctive relief, I have attempted to resolve the matter

through the institution's internal grievance process. However, my attempts have been

unsuccessful, leaving me no choice but to seek legal intervention to prevent further harm. I

have also sought counseling and support services to help mitigate the emotional distress

caused by this situation.

       In this case, I, the applicant, face significantly greater hardship compared to the

respondent institution. The potential consequences of this expulsion on my academic record

and prospects are severe and long-lasting. In contrast, the respondent's hardship is

relatively minimal, as granting this injunctive relief would merely require them to pause

the expulsion process until a thorough review is conducted. Therefore, the need for relief is

justified to prevent the disproportionate harm I would suffer if the expulsion is enforced

without due process.

       DENIAL OF DUE PROCESS

       This declaration is made by Ian H. Lucas ("Declarant"), in support of the motion for

a temporary restraining order and/or preliminary injunction against The Vanderbilt

University ("Respondent"). In this context, Declarant asserts that Respondent has denied

Declarant due process in violation of the principles and protections afforded by the U.S.



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Constitution and applicable federal laws. Specifically, Declarant alleges that Respondent

failed to provide a fair and impartial hearing, adequate notice of the allegations, and a

reasonable opportunity to respond or to present evidence in defense of the allegations made

against Declarant. Such actions, or lack thereof, by Respondent have significantly

prejudiced Declarant's rights and interests, necessitating this motion for judicial

intervention to prevent further irreparable harm.

       IRREPARABLE HARM SUFFERED

       This declaration is made to assert that Ian H. Lucas ('Declarant') has suffered, and

continues to suffer, irreparable harm because of the actions and omissions of The

Vanderbilt University ('Respondent'). The nature of this harm is such that monetary

damages alone cannot adequately compensate the Declarant for the losses and damages

sustained, and there are no adequate alternative remedies available. This harm includes,

but is not limited to, significant emotional distress, reputational damage, and the loss of

educational and professional opportunities. The Declarant respectfully requests that the

U.S. District Court for the Middle District of Tennessee recognize the severity and

irreparability of the harm suffered. It is imperative that the Court grants the motion for a

temporary restraining order and/or preliminary injunction to prevent further damage and

to preserve the status quo pending the resolution of this matter.

       ATTEMPTS TO RESOLVE ISSUE

       Prior to the initiation of this motion, I, Ian H. Lucas, made several attempts to

amicably resolve the underlying issues with The Vanderbilt University. These attempts

included but were not limited to, written communications, direct conversations with

representatives of the university, and seeking mediation to find a mutually agreeable

solution. Despite these efforts, it has become necessary to proceed with legal action to

protect my rights and interests. This declaration is made in good faith, with the



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understanding that all possible avenues for resolution were explored before resorting to this

court's intervention.

       LEGAL STANDARD AND CASE LAW

       This declaration is submitted in support of the Motion for Temporary Restraining

Order and/or Preliminary Injunction against The Vanderbilt University to prohibit them

from [describe specific action to be restrained] and require them to [describe specific action

to be required]. The legal standards for granting such relief are well established, as

outlined in the pertinent laws and statutes...under the applicable laws and statutes

governing such claims. The legal standards for granting such relief are well established. A

temporary restraining order ("TRO") or preliminary injunction may be granted only if the

movant demonstrates (1) a substantial likelihood of success on the merits, (2) that

irreparable harm will result if the injunction is not granted, (3) that the threatened injury

outweighs the harm that the injunction may cause to the respondent, and (4) that the

injunction will not disserve the public interest.

       The temporary restraining order and/or preliminary injunction is sought for a period

of [specify duration, e.g. 14 days, until further court order, etc.] In support of this motion,

relevant case law within the jurisdiction of the U.S. District Court for the Middle District of

Tennessee will be cited to illustrate the application of these principles...

       The injunction is sought to apply within the geographic area of [specify geographic

scope, e.g. the state of Tennessee, Vanderbilt University campus, etc.] In support of this

motion, relevant case law within the jurisdiction of the U.S. District Court for the Middle

District of Tennessee will be cited to illustrate the application of these principles...

       In support of this motion, relevant case law within the jurisdiction of the U.S.

District Court for the Middle District of Tennessee will be cited to illustrate the application




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of these principles. cases to . The injunctive relief being sought is not expected to impact

any public services. Public health and safety. The public policy. Interest.

       Factual Evidence Supporting Plaintiff's Claim: In further support of my

claim, I present the following factual evidence: First, I submitted emails and documented

communications between myself and the faculty at Vanderbilt University where I

repeatedly requested clarification and assistance regarding the alleged academic

misconduct. These communications demonstrate my proactive effort to address any

concerns and adhere to academic standards. Additionally, I have affidavits from fellow

students and faculty members who attest to my integrity and adherence to academic

policies.

       Notably, a review of my academic record prior to the allegations shows a consistent

record of high performance and no history of misconduct, reinforcing the argument that

the expulsion was unwarranted and baseless. Furthermore, in comparison to the publishes

procedures and evaluated disciplinary process there is found significant deviations from

the university's established protocols, suggesting procedural improprieties that

undermined the fairness of the proceedings.

       Legal Theory Underpinning Plaintiff's Claim: Legal Theory Underpinning

Plaintiff's Claim: The legal theory underpinning my claim against The Vanderbilt

University is based on violations of due process rights as guaranteed under the Fourteenth

Amendment of the U.S. Constitution. Specifically, I assert that the university deprived me

of my right to a fair and impartial hearing, which constitutes a violation of procedural due

process. The university's failure to provide adequate notice of the allegations and a

meaningful opportunity to respond constitutes a deprivation of my property interest in my

continued education and the professional opportunities it affords. Additionally, I argue




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that the university's actions were arbitrary and capricious, lacking a rational basis, and

were carried out in bad faith, which supports a claim under common law principles of

breach of contract. By not adhering to its own disciplinary procedures and failing to

provide a fair adjudicative process, Vanderbilt University breached its contractual

obligations to me as a student, further substantiating my claim for injunctive relief.

       This declaration is submitted in support of the Motion for Temporary Restraining

Order and/or Preliminary Injunction against The Vanderbilt University. The legal

standards for granting such relief are well established. A temporary restraining order

("TRO") or preliminary injunction may be granted only if the movant demonstrates (1) a

substantial likelihood of success on the merits, (2) that irreparable harm will result if the

injunction is not granted, (3) that the threatened injury outweighs the harm that the

injunction may cause to the respondent, and (4) that the injunction will not disserve the

public interest. This declaration will present a well-structured argument, supported by

relevant case law, that logically supports the likelihood of success on the merits for each of

these factors.

       GOVERNING LAW

       This Declaration and any dispute arising out of or related to the subject matter

herein shall be governed by and construed in accordance with the laws of the United States

of America and, where applicable, the laws of the State of Tennessee, without giving effect

to any choice or conflict of law provision or rule. Any legal suit, action, or proceeding arising

out of, or related to, this Declaration shall be instituted exclusively in the federal courts of

the United States or the courts of the State of Tennessee in each case located in the city of

Nashville and County of Davidson, although we retain the right to bring any suit, action, or

proceeding against the other party for breach of this Declaration in your county of residence

or any other relevant county. Each party irrevocably consents to the jurisdiction of such



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courts and waives any and all objections to the exercise of jurisdiction over them by such

courts and to venue in such courts.

       CONFIDENTIALITY

       The parties acknowledge that during litigation, they may become privy to certain

confidential information pertaining to the other party's strategies, evidence, or other

materials that are of a sensitive and proprietary nature. Therefore, the parties hereby

agree to maintain the confidentiality of all such information, documents, and

communications. Neither party shall disclose any such confidential information to any third

party without the prior written consent of the other party, except as may be required by law

or court order. This confidentiality obligation shall survive the termination or resolution of

this case and shall remain in effect indefinitely. Any breach of this confidentiality clause

shall be deemed a serious violation, subject to legal remedy and enforcement by the

aggrieved party.

       ENTIRE AGREEMENT

       This Declaration and any exhibits, attachments, or documents incorporated herein

by reference, constitute the entire agreement and understanding between the parties with

respect to the subject matter hereof and supersedes all prior agreements, understandings,

negotiations, and discussions, whether oral or written, between the parties related to the

subject matter of this declaration. No amendment, modification, or addition to this

Declaration shall be binding unless it is in writing and signed by the parties. This

Declaration may not be modified or amended except by a written agreement, duly executed

by the parties hereto.

       SEVERABILITY

       If any provision of this Declaration, or the application thereof to any person or

circumstance, is determined by a court of competent jurisdiction to be invalid, illegal, or



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unenforceable to any extent, such provision shall be excluded to the extent of such

invalidity or unenforceability; all other provisions hereof shall remain in full force and

effect and shall be liberally construed in order to carry out the intentions of the parties as

nearly as may be possible. Such invalidity, illegality, or unenforceability of any provision of

this Declaration shall not affect the validity or enforceability of the remaining provisions.

          AMENDMENT OF DECLARATION

          This Declaration may be amended from time to time only by written instrument

signed by the Declarant and acknowledged by The Vanderbilt University. Any such

amendment shall be attached to this Declaration and shall be deemed to be incorporated

herein, thus becoming a part of this Declaration as if the amendments were originally set

forth herein. No oral agreement, statement, or pre-contractual representation shall be

considered to modify, interpret, or add to the provisions of this Declaration. This provision

is intended to ensure that any changes to the Declaration are documented and agreed upon

by both parties in a formal and traceable manner, thus providing clarity and preventing

disputes over the contents and terms of this Declaration.

          CONCLUSION

          Considering the foregoing, I, Ian H. Lucas, respectfully request that the U.S. District

Court for the Middle District of Tennessee grant the motion for a temporary restraining

order and/or preliminary injunction against The Vanderbilt University. This action is

necessary to prevent immediate and irreparable harm that could result from the

continuation of the respondent's actions without the Court's intervention.

          Respectfully Submitted for Consideration in support of the motion for TRO,
          IN WITNESS WHEREOF, I have hereunto set my hand this __11th__ day of
          ____JULY__________, 2024.

/S/ Ian H. Lucas
Electronically Signed
Ian H. Lucas, Plaintiff Pro Se




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                         DECLERATION UNDER PENALTY OF PERJURY


       I affirm under penalty of perjury that the statements made herein are true and

correct to the best of my knowledge, information, and belief.

       IN WITNESS WHEREOF, I have hereunto set my hand this __11th__ day of

       ____JULY__________, 2024.


       /S/ Ian H. Lucas
       Electronically Signed
       _____________________________
       Ian H. Lucas
       Plaintiff Pro Se




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                                 CERTIFICATE OF EX PARTE FILING

      I, Ian H. Lucas, hereby certify that this filing was made with the court on an ex
      parte basis due to the urgent nature of the request and the immediate and
      irreparable harm that could result to me if the relief sought is not granted before the
      Respondent can be heard. Given the circumstances outlined in my motion for a
      temporary restraining order and/or preliminary injunction, it is imperative that the
      Court reviews and, if deemed appropriate, grants the requested relief without the
      usual notice to the opposing party. This approach is justified by the need to prevent
      the imminent and substantial harm that delay in the provision of relief could cause.

      This certificate accompanies my motion for a temporary restraining order and/or
      preliminary injunction against The Vanderbilt University, seeking immediate
      judicial intervention to halt the enforcement of my expulsion pending a thorough
      and impartial review of my case.

      In accordance with the relevant federal rules and the practices of the U.S. District
      Court for the Middle District of Tennessee, I understand the obligations and
      implications of seeking ex parte relief and assert that this filing is made in good
      faith and not for the purpose of undue advantage or to cause unnecessary harm or
      burden to the Respondent.

      I further certify that a copy of this motion and accompanying documents will be
      served upon the Respondent in a manner prescribed by law at the earliest possible
      time, consistent with the Court’s directions and the exigencies of this situation.

      Dated this __11th__ day of ___July______, 2024.

      /S/ Ian H. Lucas
      Electronically Signed


      Ian H. Lucas
      Plaintiff Pro Se




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